      Case 2:23-cr-00320-KJM Document 13 Filed 12/15/23 Page 1FILED
                                                                 of 1
                     UNITED STATES DISTRICT COURT       December 15, 2023
                    EASTERN DISTRICT OF CALIFORNIA       CLERK, US DSITRICT COURT
                                                                     EASTERN DISTRICT OF
                                                                         CALIFORNIA


UNITED STATES OF AMERICA,                    Case No. 2:23-cr-00320-KJM-2

               Plaintiff,

      v.                                           ORDER FOR RELEASE OF
                                                    PERSON IN CUSTODY
KARLA MONTOYA,

               Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release KARLA MONTOYA Case No.

2:23-cr-00320-KJM-2 Charges 18 USC §371 from custody for the following reasons:

                     Release on Personal Recognizance

                     Bail Posted in the Sum of $
                                                                $25,000.00 signed
                                                                by defendant,
                      x       Unsecured Appearance Bond $       cosigned by
                                                                defendant’s cousin,
                                                                Liliana Valencia
                              Appearance Bond with 10% Deposit

                              Appearance Bond with Surety

                              Corporate Surety Bail Bond
                              (Other): Released forthwith with terms as stated on the
                              record. Defendant must also report directly to the
                          x   Pretrial Services Office on 501 I Street, 2nd Floor,
                              Suite 2-400, Sacramento, CA 95814 at 9:00 AM on
                              12/18/2023 .
      Issued at Sacramento, California on December 15, 2023 at 3:15 PM.

 Dated: December 15, 2023
